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                                                 UNITED STATES DISTRICT COURT
                                             CENTRAL DISTRICT OF CALIFORNIA
                                                       EASTERN DIVISION
                       CARTER BRYANT, an individual,               CASE NO. CV 04-9049 SGL (RNBx)
                                    Plaintiff,                     Consolidated with:
                                                                   CV 04-09059
                             vs.                                   CV 05-2727
                       MATTEL, INC., a Delaware corporation,       MATTEL, INC.'S REPLY IN
                                                                   SUPPORT OF MOTION FOR
                                    Defendant.                     PERMANENT INJUNCTION
                                                                    Declarations Of Stephen M. Hauss,
                                                                    udy A. Willis And Stephanie Cota
                  18   AND CONSOLIDATED ACTIONS                    Filed Concurrently]
                  19                                               Date: November 10, 2008
                                                                   Time: 1:00 p.m.
                                                                   Place: Courtroom 1
                                                                   Phase 1(a):
                                                                   Trial Date: May 27, 2008
                                                                   Phase 1(b):
                                                                   Trial Date: July 23, 2008




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                  1                                    Preliminary Statement
                  2         What is most striking about defendants' opposition is what is missing. Defendants
                      all but ignore the detailed facts that are the basis of Mattel's motion: they do not contest
                      that all Bratz fashion dolls are based on the same sculpt; they do not challenge Mattel's
                      proof that the sculpt is based on Bryant designs owned by Mattel, incorporates the
                      specific elements this Court held were protectable and infringes. They do not deny that
                  7 absent an injunction they will continue to produce Bratz dolls based on the infringing
                  8 sculpt. And they do not address Mattel's ownership of the four original Bratz characters,
                  9 nor challenge Mattel's showing that they continue to copy them. Instead, defendants
                      speculate that the jury's award of infringement damages implied a finding that only the
                      first generation dolls infringe, and insist the Court is bound by their speculative, and
                      unsupported, interpretation of the verdict. MGA is engaged in massive, ongoing
                      infringement. It should be enjoined.
                                                              Argument
                      I.    THE COURT HAS AUTHORITY TOGRANT MATTELTHE
                            INJUNCTIVE RELIEFIT SEEKS
                            Defendants argue the Court lacks authority to award injunctive relief because (1)
                      it is bound by the jury's damage award which purportedly limits their copyright
                      infringement to the first generation Bratz dolls; and (2) Mattel's election to seek future
                      damages at trial against Larian precludes it from now seeking an Injunction against the
                      defendants. These assertions are wrong on both the facts and law.
                            A.     Only Specific and Unambiguous Jury Findings Bind the Court
                 23         Where a plaintiff seeks both legal and equitable relief, the Seventh Amendment
                 24 requires the legal claims to be tried first to a jury. See Beacon Theatres, Inc. v.
                 .25 Westover, 359 U.S. 500, 508-09 (1959). A judge then deciding equitable claims "based
                 26 on the same facts" is bound by traditional principles of issue preclusion to follow the
                 27 jury's factual determinations. Los Angeles Police Protective League v. Gates, 995 F.2d
                 28 1469, 1473 (9th Cir. 1993). "Any actual issues necessarily and actually decided by the
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                     jury are foreclosed under settled principles of collateral estoppel from subsequent
                      reconsideration by the district court." Ohio-Sealy Mattress Mfg. Co. v. Sealy, Inc., 585
                      F.2d 821, 844 (7th Cir. 1978) (emphasis added).
                            A general verdict that lacks specific factual findings as to the scope of liability
                      does not bind a court in determining the proper scope of injunctive relief. See Roberts v.
                      Coll. of the Desert, 870 F.2d 1411, 1418 (9th Cir. 1988) (district court not bound by
                   7 general verdict where "it is impossible to say upon which theory ... the jury imposed
                      liability."). Where "it is impossible to tell from [a] general verdict" the specific factual
                      findings the jury made, the court may award injunctive relief "based upon [its own] view
                      of the facts established by the evidence." U.S. v. An Article of Drug, 661 F.2d 742, 746-
                      47 (9th Cir. 1981); see Burton v. Armontrout, 975 F.2d 543, 545 (8th Cir. 1992)
                      (affirming injunction despite jury verdict of no liability:       where "general verdict
                      directive did not allow the jury to make specific factual findings upon which the district
                      court could rely when crafting or denying the injunction," it was "proper for the court to
                      supply its own factual findings to supplement the jury's verdict"); Blake v. Hall, 668
                      F.2d 52, 54 (1st Cir. 1981) (trial judge not bound in equity despite jury verdict of no
                      liability where issues decided by jury in general verdict could not be determined).
                             The size of a damages award is relevant to the availability of equitable relief only
                      where the amount of the verdict "makes it a mathematical certainty" that the jury found
                      the specific facts that control the scope of such relief. Ohio-Sealy, 585 F.2d at 844
                      (emphasis added); see Los Angeles Police, 995 F.2d at 1474 (the jury "could not have
                      awarded the level of damages it awarded without finding that [plaintiff] would not have
                      been discharged except for his refusal to be illegally searched.") (italics in original).
                      Liability, not damages, controls the appropriate scope of injunctive relief. See Roberts,
                  25 870 F.2d at 1418 (examining which theory of liability the jury accepted); An Article of
                  26 Drug, 661 F.2d at 746-47 (same). Injunctions frequently issue even where the damages
                  27 awarded are less than what plaintiffs sought. See, e.g., Kemin Foods, L.C. v. Pigmentos
                  28 Vegetales Del Centro S.A. De C.V., 369 F. Supp. 2d 1075, 1083 (S.D. Iowa 2005)
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                      (rejecting claim that "the amount of the jury awarded somehow indicates the jury did not
                      find the modified process infringing").
                             B.     The Jury Did Not Find That Only First Generation Dolls Infringe
                             At the 1(b) charging conference, the Court recognized it would ultimately be
                      required to determine the scope of infringement itself for purposes of equitable relief
                      because of limitations on the evidence: "[A]t the end of the day...I'm going to have to
                      re-evaluate all the products myself before I can make the injunction findings or grant the
                      injunctive relief. I am not going to be able to rely upon a jury verdict or a jury
                      questioning which simply answers the question with respect to some but not all [of the
                      products]." ' MGA argued against the verdict form ultimately adopted by the Court
                      precisely because it would not produce specific findings as to the scope of infringement:
                      "They just want to say was there infringement? And we 'll never know, was it the first
                      generation? Was it all of the fashion dolls? ... Was the net cast even wider?" 2 As MGA
                      points out, the Court recognized this as well. (Opp. at 19) (quoting the Court: "we will
                      not know specifically what the jury found to be direct infringement and what they found
                      to be derivative of indirect damage"). In part because the more detailed form requested
                      by MGA would not have alleviated the burden on the Court to determine for itself the
                      scope of infringement, 3 the Court proceeded with a general verdict form. 4
                             MGA argues the size of the damages award demonstrates the jury found that only
                      the first generation Bratz dolls infringe. But MGA cannot explain the jury award on this

                          ' Trial Tr. at 8015:20-8016:1 (emphasis added).
                         2
                         3
                            Trial Tr. at 8025:2-8 (emphasis added).
                          4
                            Trial Tr. at 8014:14-20.
                            MGA claims injunctive relief should be denied because Mattel, in advocating a general
                      verdict form, "should not be able to profit by its own failed litigation tactic." Opp. at 19. The
                 24   assertion is baseless. MGA proposed a detailed verdict form but limited the questions to
                      direct infringement and excluded questions regarding indirect infringement. Mattel opposed
                 25   this selective framing of the questions, which ignored a large component of its case. The
                      Court expressed concerns with MGA's selective framework as well. Trial Tr. at 8023:14
                 26   ("Why are we drawing this line in the sand about direct infringement?"); Trial Tr. at 8023:9-
                      13 ("should we not also ask ...do you find this is derivative or not derivative, whether this is
                 27   indirect or not direct?"). Mattel's opposition to this inappropriate form has no bearing on its
                      entitlement to relief. Kemin Foods, 369 F. Supp. 2d at 1084 (rejecting argument that plaintiff
                 28   cannot "benefit from opposing ... specific questions" in favor of general verdict form).
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                     basis. Its own damages expert, Paul Meyer, testified that MGA's total profits for sales of
                     first generation dolls were $4 million, and that the share of those profits attributable to
                     Bryant's designs was zero. 5 MGA cites the August 22, 2008 jury note addressed to the
                     "dilemma" of "appropriation" (likely meaning "apportionment") of "1st generation $4
                     million profit" to support its interpretation of the jury verdict, but the note does just the
                     opposite. Had the jury actually found that only the first generation dolls infringed, it
                     would necessarily have awarded damages under $4 million. In fact, it awarded two-and-
                  8 a-half times that in copyright damages. 6 MGA has no explanation for this, suggesting
                     only the jury might have thought "that MGA's proffer of $4 million in profits on nearly
                     $80 million revenue was a bit low." 7 One can also speculate the jury may have based its
                     award on MGA's assertion that it was in dire financial straits as a result of the verdict in
                     Phase 1(a). 8 Or they may have taken into account the evidence introduced by MGA and
                     later ruled inadmissible by the Court as to the likelihood of injunctive relief, and the
                     impact such relief would have on MGA's ability to satisfy an award. 9 For the Court to
                     be bound, MGA must prove the only possible explanation of the verdict--to a
                     mathematical certainty--is that the jury decided MGA's infringement was limited to the
                     first four Bratz dolls.     That MGA is reduced to speculation about what the jury
                     "apparently agreed" to in its verdict (Opp. at 25) proves it cannot meet this standard. '0




                        5   Trial Tr. at 7778:2-7779:6; 7784:1-9.
                        6   MGA also improperly ignores the entirety of the jury's damages award--$100 million.
                     See Bains LLC v. Arco Prods. Co., Div. ofAtl. Richfield Co., 405 F.3d 764, 771-72 (9th Cir.
                     2005) (cited by MGA) (award of $1 for 42 U.S.C. § 1981 violation did not show no economic
                     harm because jury awarded $50,000 for breach of contract and jury may have thought
                     "puffing the same $50,000 under both the § 1981 and the breach of contract causes of action
                     world be double counting").
                         $ Opp. at 21 n.30.
                         9°
                            Trial Tr. at 6392:9-6393:7; 6395:1-6396:24; 6398:16-6399:16; 7760:1-17.
                            Trial Tr. at 6385:17-6386:14.
                              See also Meyer Decl., dated October 13, 2008, at T¶ 12, 13 (speculating about
                     alternative findings jury "may have" made). MGA's contention that the evidence introduced
                     at trial was "consistent with" a finding that only the first dolls infringed (Opp. at 22-25) is
                     irrelevant under the applicable rules. The question is not whether evidence "consistent with"
                     a putative jury finding was introduced, but whether the putative finding necessarily was made.
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                              The case law is uniform that in these circumstances there is ""no reason to pluck
                      from the verdict speculative findings not necessarily reached by the jury." Melendez v.
                      Illinois Bell Tel. Co., 79 F.3d 661, 670 (7th Cir. 1996); accord Bridgeport Music, Inc. v.
                      Justin Combs Pub., 507 F.3d 470, 484 (6th Cir. 2007) ( "Because the jury simply
                      returned a numerical amount for damages, and did not specify how it calculated
                      damages, there is no way of knowing the jury's reasons for rejecting defendants'
                  7 arguments."). Where "nobody can say what the jury found the facts to be," the "jury's
                  8 verdict can ... have no binding effect on the district court's subsequent factfinding."
                  9 Williams v. First Gov't Mortgage and Inv. Corp., 225 F.3d 738, 748 (D.C. Cir. 2000)
                 10 (citations omitted). MGA does not cite a single contrary case. "
                 11           Ignoring these precedents MGA urges the Court to "harmonize the jury's
                 12 findings," Opp. at 20, by equating the damages award with a finding of limited
                      infringement. But the cases cited by MGA deal with a court's duty to harmonize
                      verdicts that might be considered inconsistent, not with the binding effect of jury
                      factf nding. "[W]here inconsistent verdicts are alleged, the test is not whether there was
                      substantial evidence for the jury's conclusion, but whether it is possible to reconcile the
                      verdicts." Vaughan v. Ricketts, 950 F.2d 1464, 1470 (9th Cir. 1991). The duty to
                      harmonize requires a court to do precisely what the doctrine of issue preclusion
                      prohibits: to ask what the jury "could have found," id., rather than what it "necessarily
                      and actually decided." Ohio-Sealy, 585 F.2d at 844. These authorities have no
                      application here. MGA offers no basis to conclude that the jury actually and necessarily
                      made specific findings that preclude the injunctive relief Mattel seeks. 12

                         1'
                             MGA makes much of the fact that counsel for Mattel at one point suggested the jury's
                      damage award might enable the Court to discern the scope of infringement. Opp. at 28-29. It
                      was certainly possible that the jury would agree to an award of damages that so clearly and
                      unequivocally matched one or more of the expert's calculations that it would have established
                      the scope of infringement to "a mathematical certainty." But as MGA's labored efforts to
                      explain the damages actually awarded make clear, that did not happen. The Court, as it
                      preslIcted, must make the necessary factual findings as to the scope of infringement.
                             To the extent the jury's verdict permits any presumption, it is a presumption that
                      everything Mattel put at issue infringes given the jury's general verdict of infringement.
                      Span-Deck, Inc. v. Fab-Con, Inc., 677 F.2d 1237, 1241 n.5 (9th Cir. 1982) ("A general
                          (footnote continued)
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                   1         C.     The Jury Verdict as to the Current Value of Isaac Larian's Stock is
                   2                Irrelevant to the Court's Authority to Grant Injunctive Relief
                             Defendants argue that because Mattel used future Bratz profits as one of three
                       ways to determine Larian's current benefit from his infringement of Mattel's copyrights,
                       17 U.S.C. § 504(b), Mattel elected never to seek to enjoin MGA, MGA Hong Kong and
                       Larian from selling infringing products. The argument is wrong on the facts and law.
                             First, even according to defendants, Mattel never sought future damages from
                       MGA or MGA Hong Kong. Thus, Mattel may seek to enjoin those defendants.
                             Second, Mattel never sought future damages from Larian, nor could it. The
                       Copyright Act permits a plaintiff to obtain both damages, which redress past
                       infringement, and a permanent injunction. 17 U.S.C. §§ 502(a), 504; see 6 Patry on
                       Copyright § 22:78 ("May the court award a permanent injunction if monetary damages
                       have already been awarded by the trier of fact? The answer is clearly yes: monetary
                       damages are awarded for past harm, while injunctive relief is intended to prevent future
                       harm. ""). "Future damages are not awardable," id. § 22:101, nor are "future[] profits."
                       Id. § 22:116 (citing Sheldon v. MGM Pictures Corp., 309 U.S. 390, 400 (1940) ("The
                       infringer is liable for actual, not for possible, gains.")). Mattel never sought an award of
                       damages for future sales; the only issue was how much of the current value of Larian's
                       interest in MGA was attributable to infringement. 13        "The doctrine of election of
                       remedies is no longer strictly enforced in the federal courts," Taylor v. Burlington
                       Northern R. Co., 787 F.2d 1309, 1317 (9th Cir. 1986), and does not apply here.




                     verdict, without more, will of course give rise to the presumption that material fact issues
                     have been resolved in favor of the prevailing party."); Beverage Distrib., Inc. v. Olympia
                     Brewing Co., 440 F.2d 21, 25 n.4 (9th Cir. 1971) (by issuing a general verdict, jury resolved
                     all material issues in plaintiffs favor).
                             Mattel's expert used three generally accepted measurements (income approach,
                     comparable companies approach, comparable transactions approach) to place a current value
                     on Larian's MGA stock. See Trial Ex. 13932, Hauss Decl. Ex. 5; Trial Tr. at 6299:25-
                     6304:14. MGA conceded that none of these approaches actually addresses future damages.
                  28 Trial Tr. at 6434:19-6435:7.
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                               Third, the Copyright Act permits the election of remedies "at any time before final
                      judgment is rendered." 17 U.S.C. § 504(c)(1) (election between statutory and actual
                      damages). In response to MGA's Motion in Limine No. 7 the Court advised Mattel that
                  4 it would have to elect its remedies if the Court enjoined MGA at a later date. But any
                  5 earlier election would be "entirely premature":
                  6            Certainly, at the end of the day, if the Court, for example, imposes an
                               injunction, assuming that a copyright infringement were to be found or if
                  7            the damages being returned clearly do play out to be double counting,
                               Mattel will have to exercise a choice of remedies, and some of that
                               damage, or entire portions of that damage, may have to be set aside. But at
                               this point, I think it would be entirely premature to force Mattel to choose
                               between, for g ample, profits obtained by MGA versus profits obtained by
                               Isaac Larl an.
                      To permit an election later, the Court required the parties to "spell out on the verdict
                      form these various permutations and these various categories of damages so that if
                      damages are returned against MGA or Isaac Larian, we would be in a position post-trial
                      to make the appropriate rulings." T5        The parties acknowledged that any potential
                      duplication between damages and injunctive relief would be resolved with the verdict
                      form. 1b And it was. The Court ruled, properly, ' that Mattel could go forward with its
                      damages claims and also seek an injunction; MGA's "gotcha" suggestion that Mattel is
                      nevertheless barred from seeking such relief fails. See Latman v. Burdette, 366 F.3d
                      774, 781-82 (9th Cir. 2004) (cited by MGA) (no election of remedies where party has


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                          15
                              Trial Tr. at 5230:2-5231:25 (denying MGA Motion in Limine No. 7).
                              Id.
                          16 Trial Tr. at 6430:10-12 (Mr. Quinn: "We're not going to get--I think this is something
                      that's going to be solved by the verdict form."); Trial Tr. at 6431:10-11 (Mr. Kennedy: "I
                      suggest this is something that perhaps can be taken care of by the verdict."); Trial Tr. at
                      8012:18-25 (Mattel acknowledging, with the Court's agreement, that the purpose of the two
                      questions about Mr. Larian's copyright liability was "if the Court issues an injunction, that
                      present value [of Mr. Larian's stock attributable to Bratz] could be changed."); see generally ,
                      Triy7 Tr. at 8011:19-8012:25.
                               Courts require parties to elect a remedy prior to trial only if a defendant can show
                      "substantial prejudice." See, e.g., Sharpe v. F.D.I.C., 126 F.3d 1147, 1153 (9th Cir. 1997)
                      ("only if the plaintiffs' actions cause substantial prejudice to the defendant are the plaintiffs
                      required to make a binding election of remedies pprior to judgment"); In re Grain Land Coop,
                      978 F. Supp. 1267, 1278 (D. Minn. 1997) (refusing to force plaintiff to choose between
                      alternative remedies prior to judgment because defendants "have not been substantially
                      prejudiced and there is little chance of double recovery").
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                      not "affirmatively chosen[] or elected" one remedy over another); Miles v. Lavender, 10
                      F.2d 450, 454 (9th Cir. 1926) (pasty must take "decisive act" that reflects "full
                      knowledge" that remedies are inconsistent for there to be an election of remedies). '$
                             Finally, the jury did not find, by awarding zero damages for Larian's stock value,
                      that there would be no future infringement. The verdict form said nothing about
                      damages for sales of Bratz works in the future; the relevant question merely asked for
                  7 the "Value of Mr. Larian's ownership percentage of MGA attributable to Bratz-related
                  8 works." 19 The jury instructions did not address future damages either.20 MGA contends
                      the jury understood the nuances of Wagner's valuation of Larian's stock using a
                      comparable companies analysis, a comparable transactions analysis, and an income
                      analysis; disregarded the first two as a basis for the valuation analysis; relied solely on
                      the discounted present value analysis; and then rejected that analysis since it found no
                      future infringement. 2' But MGA ignores the opinion Meyer rendered (over Mattel's
                      objection) relating to the value of Larian's stock: that as a result of the jury's verdict in
                      Phase 1 A and other uncertainties "you could not place a value on Mr. Larian's interest at
                                                                          "22 It is far more plausible that the jury
                      this point in time.   You just could not do that.

                      concluded, as MGA itself urged, that it could not value Larian's stock at that moment
                      than that it performed the sophisticated sorting of Wagner's methods that MGA now
                      plucks from the verdict. 23 If both readings are possible, the Court is bound by neither.
                 20
                          'g MGA's cases are off point. See, e.g., Sears, Roebuck & Co. v. Metro. Engravers, 245
                 21   F.2d 67, 69-70 (9th Cir. 1957) (relying on "one recovery" doctrine where plaintiffs levied a
                      writ of attachment in a prior state case based on the same facts); 3M Co. v. Pribyl, 259 F.3d
                 22   587, 608 (7th Cir. 2001) (agreeing with plaintiffs assertion that "payment of monetary
                      damages should have no impact on the court's decision to grant a permanent injunction
                 23   aga%ist use," and upholding partial permanent injunction),
                         2°
                              Phase 1(b) Verdict Form As Given at ¶ 11(b), Hutnyan Decl. Ex. 3.
                 24      2'
                             Jury  Instruct. Nos. 41-42 (silent as to prof is from future sales), Hutnyan Decl. Ex. 4.
                         22
                             See  TX  13932, Hauss Decl..Ex. 5; Trial Tr. at 6300:10-17.
                 25      23
                             Trial Tr. at 7757:25-7760:12 (emphasis added).
                             Cf. Bains, 405 F.3d at 771 (award of $1 for § 1981 violation did not show lack of
                 26   economic harm because jury may have found that "even though lost profits were proved, the
                      'amount' of lost profits could not be established 'with reasonable certainty"'). Contrary to
                 27   MGA's claim (Opp. at 5:3-4), the jury's denial of damages for the current value of Larian's
                      stock actually shows the election of remedies doctrine does not apply; the thrust of the
                 28   doctrine is to prevent double recovery, and there is no double recovery threat in this case.
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                   1 II.        THE COURT SHOULD ENJOIN DEFENDANTS' INFRINGEMENT
                   2            It has long been the law that a finding of past infringement coupled with a threat
                       of future infringement warrants an injunction. E.g., MAI Sys. Corp. v. Peak Computer,
                       Inc., 991 F.2d 511, 520 (9th Cir. 1993) ("As a general rule, a permanent injunction will

                       be granted when liability has been established and there is a threat of continuing
                       violations."). Post-eBa_y, as before, the issuance of an injunction upon a showing of
                   7   copyright infringement is the norm, not "extraordinary" as MGA insists (Opp. at 13). 24
                   8            A.     MGA Is Engaged In Ongoing Acts of Infringement
                   9            MGA is engaged in widespread, ongoing infringement. Claiming only that the
                  10 jury found otherwise, MGA does not seriously attempt to answer the proof in Mattel's
                  11 motion.         It does not seek to explain away its admissions showing its ongoing
                       infringement. 25    It does not dispute the evidence of its infringement of Mattel's
                       characters, except to speculate the jury found otherwise. 26 It does not deny that the
                       original four dolls and all later dolls are based on the same sculpt. 27
                                MGA suggests the jury "could have found" that only "the first generation clothing
                       and packaging" -- and not the sculpt -- are infringing. (Opp. at 23.) MGA points out
                       that Leahy claimed not to use Bryant's "drawings" to create "her sculpt," 28 but does not
                       acknowledge the jury's contrary finding that Mattel owns that sculpt (or Leahy's
                       admissions that Bryant gave her his drawings so she could do the sculpt). 29 MGA
                       suggests it j ointly owns the sculpt, but does not acknowledge the Court's rejection of that

                           24
                             See, e.g., Bertram Music Co. v. Yeager Holdings of Cal., Inc., 2008 WL 2055480, at *2
                       (E.D. Cal. 2008) ("Generally, a showing of copyright infringement liability and the threat of
                       future violations Is sufficient to warrant a permanent injunction."); Arista Records LLC v.
                       Furia Sonidera, Inc., 2007 WL 922406, at *4 (E.D.N.Y. 2007) (same); UMG Recordings, Inc.
                       v. Blake, 2007 WL 1853956, at *2 (E.D.N.C. 2007) (same); Disney Enters., Inc. v. Merchant,
                       2007 WL 1101110, at *6 (N.D.N.Y. 2007) ("Permanent injunctions are routinely awarded in
                       favor of copyright owners whose protected works have been misappropriated in order to serve
                       the 5ublic's interest in upholding copyright protections.").
                           26
                              Mot.at8-12.
                           27
                              Mot. at 12-13; Opp. at 27 n.42.
                           29
                              Mot. at 3 -7.
                              Opp. at 23.
                              Phase 1(a) Final Verdict Form As Given at ¶ 4, Hutnyan Decl. Ex. 1; Trial Tr. at
                       4311:15-4312:15, 6839:18-22.

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                     contention. 30 MGA says Leahy testified to "dozens of changes" between sculpts, but
                     ignores her admissions that those changes were done to make the doll "feasible" and
                     "producible," and generally did not involve changes to the elements the Court found
                     protectible.31 Garcia admits she "asked Margaret to create a sculpt to match what she
                     understood to be the drawings in Carter's portfolio" and that "the exercise was to create a
                     3D version of those 2D drawings." 32 Bryant admits that "the f nal sculpt" was created
                     from drawings owned by Mattel. 33 Garcia "tried to stay true" to Bryant's vision. 34
                             MGA's unfettered access to Mattel's works is undisputed, and a visual comparison
                     shows substantial similarity. 35 MGA admitted "the look" of the f rst generation dolls
                     was "similar" to Mattel's works,36 yet there is no basis to distinguish between the f rst
                     generation Bratz dolls and all others; they all are the same doll, all based on and
                     developed from Mattel's sculpt and drawings. Any minor changes or additions MGA
                     made were just that: minor adjustments that did not eliminate the underlying substantial
                     similarity. 37 The entire line of core Bratz fashion dolls is infringing, as is MGA's




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                             Opp. at 23 n. 34. See Trial Tr. at 6907:24-6909:7 ("Moreover, the jury's finding with
                     respect to conversion in particular, but as well as the other torts, seem to completely vitiate
                     any basis to argue joint ownership at this oint -- or joint authorship at this point. But that
                     aside, this is -- this was clearly waived."). MGA's claim that Mattel did not argue in its
                     closing argument that this sculpt was a basis for an infringement, Opp. at 23 n.34, is mistaken.
                     S ' 'rial Tr, at 8143:23-8144:23; 8153:21-8154:1; 8154:14-18.
                             Trial Tr. at 4160:11-19; 4364:15-4365:15; 4366:16-19 (the changes Leahy made were
                     to make the doll "producible"); 6794:6-11 ("overall effect" of the changes was to make it
                     "producible"); 6847:22- 6848:1 ("the factors that MGA say are unique to the dolls" are in
                     Brynt's drawings).
                          33
                              Trial Tr. 642:7-25; 644:25-645:6, 651:14-652:7; 800:6-17.
                          34
                              Trial Tr. 6665:8-6667:11.
                          35
                              TX  10001, Hutnyan Decl. Ex. 15.
                              See generally Proctor Dec. ¶¶ 3-88, Exhs 1-55. MGA's suggestion that Mattel
                     conceded its infringement case "focused" on the first generation dolls, Opp. at 24 n.37, is
                     erroneous. See Trial Tr. at 8029:18-8030:14 (arguing that even merchandise is directly
                     infringing where it has "an image of the Bratz characters" on it, but primary damages theory
                     as tc merchandise like "helmets" was indirect profits).
                              Trial Tr. at 5530:24-5531:9, 5509:18-5510:1.
                          37   See Harper & Row Publishers v. Nation Enters., 471 U.S. 539, 565 (1985) ("'no
                     plagiarist can excuse the wrong by showing how much of his work he did not pirate."')
                     (quoting Hand, J).
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                  1   continued depictions of the original characters, its advertising and packaging that utilize
                  2 images of infringing dolls, and the licensing program for Bratz-related products. 38
                              B.    The Prospect That MGA Will Not Be Able To Fully Compensate
                                    Mattel For Its Ongoing Infringement Shows Irreparable Harm
                              Regardless of what presumptions are applied, it is universally recognized that the
                      prospect of uncompensated harm is irreparable injury. 39 MGA does not dispute that
                      potential inability to pay damages constitutes irreparable harm, but claims that Mattel
                      "has not provided a sufficient evidentiary showing" of inability to pay. (Opp. at 13.)
                              MGA rests its own case on a single paragraph in the declaration of its expert, Paul
                      Meyer: "According to Mattel's expert Mr. Wagner (based on data through June 30,
                      2008), the present value of MGA's projected future income or profit from Bratz is
                      $283.7 million. This amount should be more than sufficient to satisfy any past or future
                      damage award." 40 But nowhere in his declaration does Meyer himself state that MGA
                      will be able to satisfy a damage award, and at trial MGA and Meyer urged the jury to
                      reject Wagner's valuation (and the jury did not award damages based on that .
                      valuation). 41 Moreover, the $283.7 million figure Wagner calculated was based on data
                      through June 2008; it was months later that MGA trumpeted its financial woes as a
                      result of the 1(a) verdict to this Court and the Ninth Circuit. 42 MGA faults Mattel for not
                 19 submitting evidence that post-dates the 1B verdict (Opp. at 13:10-18), but Mattel has not
                 20      38
                            As discussed above, the Court is not bound by any jury finding of no ongoing
                 21 infringement because there was no such finding. But even if there were the Court would not
                    be bound. A jury finding of no ongoing infringement, were there one, would appropriately be
                 22 set aside in light of the overwhelming evidence that the entire Bratz line of dolls, all of which
                    are based on the same infringing sculpt, is infringing. See Mattel's Mot. for Judgment as a
                 23 Mat3tfr of Law dated, August 18, 2008, Decl. of Stephen M. Hauss ("Hauss Decl.") Ex. 1.
                           See, e.g., CoxCom, Inc. v. Chaffee, 536 F.3d 101, 112 (1st Cir. 2008) (irreparable harm
                 24 exists when there is "'substantial injury that is not accurately measurable or adequately
                    compensable by money damages"') citation omitted); Jackson Dairy, Inc. v. H.P. Hood &
                 25 Sons, Inc., 596 F.2d 70, 72 (2d Cir. 1979) ("For it has always been true that irre arable injury
                    mews injury for which a monetary award cannot be adequate compensation"
                 26         Meyer Decl. at ¶ 18.
                        a, Trial Tr. at 7693:19-25; 7699:11-7702:1; 7757:3-7758:8; 7760:1-17; 8226:12-8228:23;
                 27 823:7-8236:7.
                            Decl. of Isaac Larian in Support of MGA's Pet. for a Writ of Mandamus dated August
                 28 7, 2008, Hutnyan Decl. Ex. 84 at ¶¶ 3-5; Hutnyan Decl. Exs. 87-89.
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                      had been able to obtain financial discovery since then. Only MGA could provide such
                      evidence. Tellingly, it did not. See Singh v. Gonzales, 491 F.3d 1019, 1024 (9th Cir.
                      2007) ("'When a party has relevant evidence in his control which he fails to produce, that
                      failure gives rise to an inference that the evidence is unfavorable to him."').
                              C.     Mattel's Marketplace Losses Constitute Irreparable Harm
                              MGA's continued production of infringing Bratz dolls will cause Mattel market
                      losses that cannot be precisely measured. That too is irreparable harm.
                              MGA argues that any loss in market share is irrelevant because Mattel's losses to
                      date have been in sales of non-Bratz products, and the injury was not "to the infringed
                      materials."43 "[I]nfringed materials" do not suffer injuries -- plaintiffs do. As a plaintiff,
                      Mattel is entitled to protection from all injuries it suffers as a proximate result of MGA's
                      ongoing and future infringement; there is no restriction to "infringed materials"
                      damages. See 17 U.S.C. § 504(b) ("The copyright owner is entitled to recover the actual
                      damages suffered by him or her as a result of the infringement."); Polar Bear Prods., Inc.
                      v. Timex Corp., 384 F.3d 700, 708 (9th Cir. 2004) (awards of copyright damages are
                      governed by traditional tort principles of causation and damages). 44

                         43
                         44
                              Opp. at 11 (underline in original).
                              In Polar Bear, the laintiff sought to recover as copyright damages "the company's
                      losses during the period ofTimex s infringement [which] totaled $200,000. 384 F.3d at 709.
                      The Ninth Circuit rejected this theory, but only because it was speculative on the particular
                      facts. Id. at 710 ("It is too speculative to say that Timex's failure to pay a modest license fee
                      was the cause of Polar Bear's business failure."). Nowhere did the court suggest that the
                      plaintiffs theory of damages was inherently flawed because general business losses are not
                      available for copyright infringement where a plaintiff can show proximate causation. See also
                      Data Gen. Corp. v. Grumman Sys. Support Corp., 36 F.3d 1147, 1171 (1st Cir. 1994)
                      (affirming $27 million award in general business losses caused by infringement: "A plaintiff
                      may seek compensation for both direct and 'indirect' losses, as long as the losses claimed are
                      not unduly speculative."); Sunset Lamp Corp. v. Alsy Corp., 749 F. Su . 520, 523-25
                      (S.D.N.Y. 1990) (permitting plaintiff to seek copyright damages measured by lost sales on
                      non-infringed items); 4 Nimmer on Copyright, § 14.03 [B] [2] [a] at 14-46.2, 14-47 ("As long
                      as proximate causation is demonstrated, it would seem that profits 'attributable to
                      infringement' could include even those attributable only indirectly," although "claims for
                      indirect profits are more frequently unsuccessful" because such damages can be speculative).
                      In any case, now that Mattel can produce dolls based on its own designs, the prospect of
                      future market losses in the "infringed works" is real.
                          Velo-Bind, Inc. v. Minnesota Min. & Mfg. Co., 647 F.2d 965, 972-73 (9th Cir. 1981), on
                      which MGA relies, is off point. The court did not permit recovery of lost profits in other
                      products there because the plaintiffs theory "comes close to asking the court to give de facto
                          (footnote continued)
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                    1          MGA also absurdly claims that Mattel "failed to factually establish" that it lost
                   2 market share to Bratz. 45 Yet MGA does not deny that its core business model is for
                   3 Bratz to take Mattel's market share, nor its touting of its success in doing so. 46 MGA
                        asserts that Mattel's CFO "testified that Mattel's market share had not been affected by
                        Bratz," (Opp. at 11) (emphasis in original), but in fact he acknowledged that Bratz has
                        taken Mattel's market share. 47 Other Mattel witnesses acknowledged the same. 48 Even
                        in its opposition to this motion MGA claims it is "Mattel's chief competitor in the doll
                        industry."49 It is beyond plausible dispute that Mattel has suffered market share loss
                        because of MGA's infringement, and will continue to do so absent an injunction.
                               MGA urges this loss "can be recompensed through legal damages." 50 But courts
                        often deny monetary relief on market loss theories precisely because these losses are
                        difficult to calculate. See, e.g., Anza v. Ideal Steel Supply Corp., 547 U.S. 451, 458-59
                        (2006) (calculating loss of market share would be speculative); Polar Bear, 384 F.3d at
                        709-10. Market losses also give rise to other losses that are even harder to quantify.
                        Bus. Trends Analysts, Inc. v. Freedonia Group, Inc., 887 F.2d 399, 404 (2d Cir. 1989)
                  16 (copyright holder may recover for effects of infringement on "good will and market
                  17 recognition," but quantifying such effects "may be difficult"). The prospect of these
                  18 losses justifies an injunction. See, e.g., Cadence Design Sys. v. Avant! Corp., 125 F.3d
                  19 824, 828 n.6 (9th Cir. 1997) (reversing finding of no irreparable harm: "[O]ne wonders
                  20
                  21    recognition to a tieing relationship which would be illegal," and based on a patent rule that
                        "[i]n5direct consequential damages" are not available, which is contrary to copyright law.
                                 Opp. at 10 (underlining in original).
                  22         46
                                See Mot. at 23 & n.98, n.99; see also Trial Tr. at 7680:10 - 12 ("Q: Mr. Larian, do you
                        compete with Mattel in the marketplace? A: Yes, fiercely. Q: For how long? A: For the
                  23    past,seven   years. Q: Do you want to kick their ass in the marketplace? A: Yes, I do.").
                             4
                  24             Farr Tr. at 17:12-21 ("I think Bratz has affected it."), 200:1-16 ("we did have
                        competitive incursions .... I think we had a competitor, MGA, gained market share. It
                        actu.lly increased the market in fashion dolls and gained market share."), Roth Decl. Ex. B.
                  25             See, e.g., Trial Tr. at 405:15 - 20 ("A: [Mattel] definitely lost some market share to
                        Bratz"); Cassidy Park Depo Tr. at 155:7-11, 155:21-24 (similar), Hauss Decl. Ex. 2; Robert
                  26    E c kgrt Depo. Tr. at 43:8-11 (similar), Hauss Decl. Ex. 3.
                                Opp. at 15. Similarly, MGA's counsel argued in closing, "Mattel and MGA compete
                  27    in the marketplace. And you now know that for 40 years, Barbie was the only doll in town,
                        and Bratz came in and knocked her off her pedestal." Trial Tr. at 4902:6-8.
                  28
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                      how [plaintiff] could prove how many sales it lost because of the presence of
                      [defendant's] infringing software"); Elantech Devices Corp. v. Synaptics, Inc., 2008 WL
                    1734748, at * 10 (N.D. Cal. Apr. 14, 2008) (granting injunction because "lost market
                  4 share may be difficult to calculate and compensate with money damages"). 5I
                  5           D.    Even IfIt CouldandWouldBe Compensated, Mattel Will Still
                  6                  Suffer Irreparable Harm Absent An Injunction
                              MGA's extraordinary interference, with Mattel's exclusive rights also constitutes
                      irreparable harm. MGA argues Mattel "cannot rely on the pure fact of infringement" to
                      show irreparable harm after eBay, (Opp. at 12) (quoting Metro Golden Mayer Studios,
                      Inc. v. Grokster. Ltd., 518 F. Supp. 2d 1197, 1211 n.3 (C.D. Cal. 2007)), and suggests its
                      infringement of Mattel's exclusive rights is therefore inconsequential. 52 But post-eBay


                         So
                         5I
                              Opp. at 6.
                              See also, e.g., Emory Univ. v. Nova Biogenetics, Inc., 2008 WL 2945476, at *5 (N.D.
                      Ga. July 25, 2008) ( anting injunction because the negative effects of injuries such as lost
                      market share "would be difficult to quantify solely through monetary damages"); Smith &
                      Nep^ hew, Inc., v. Synthes, 466 F. Supp. 2d 978, 983 (W.D. Tenn. 2006) (loss of market share
                      and the resulting lost profits and loss of brand name recognition "constitute injuries that are
                      both incalculable and irreparable"); Fisher-Price, Inc. v. Safety 1st, Inc., 279 F. Supp. 2d 526,
                      528 (D. Del. 2003) ("[A] legal remedy is inadequate to redress the Ioss in market share ...").
                           The cases on which MGA relies are either wholly inapposite or merely show that market
                      share losses may be compensable in cases with different facts. See, e.g., Rent-A-Center, Inc.
                      v. Canyon Television and Appliance Rental, Inc., 944 F.2d 597, 603 (9th Cir. 1991) (making
                      no mention of lost market share but finding that loss of goodwill is irreparable harm and
                      upholding preliminary injunction); Oakland Tribune, Inc. v. Chronicle Publ'g Co., 762 F.2d
                       1374, 1376 (9th Cir. 1985) (non-copyright case where plaintiff did not dispute lost sales were
                      compensable with monetary damages); Nutrition 21 v. United States, 930 F.2d 867, 872 (Fed.
                      Cir. 1991) (re ecting claim of irreparable harm that was without "an adequate supporting
                      recc 5d" in preliminary injunction context where patent may not have been valid).
                              The presumption of harm is a longstanding feature of copyright law. Cadence, 125
                      F.3d at 827 n.4. As several courts have recognized, eBay does not reject this presumption by
                      its terms, and instead rejects only the Federal Circuit's presumption of an injunction. Warner
                      Bros. Entm't. Inc. v. RDR Books, -- F. Supp. 2d --, 2008 WL 4126736, at *34 (S.D.N.Y.
                      Sept. 8, 2008); Eisai Co., Ltd. v. Teva Pharms. USA, Inc., 2008 WL 1722098, at * 10 (D.N.J.
                      Mar. 28, 2008); Lennon v. Premise Media Corp., 556 F. Supp..2d 310, 320 n.1 (S.D.N.Y.
                      2008. MGA suggests the rule may be different for preliminary and permanent injunctions,
                      but i anything the distinction favors the issuance of an injunction here; once liability has been
                      established, there is no longer any danger that injunctive relief will turn out to be unjustified
                      by a finding of wrongdoing. Moreover, MGA is mistaken in its assertion that courts continue
                      to apply the presumption post-eBay only in the preliminary injunction context. See, e.g.,
                      UMG Recordings, Inc. v. Blake, 2007 WL 1853956, *3 (E D.N.C. 2007) (granting permanent
                      injunction: "Irreparable injury is presumed when aplaintiff succeeds on the merits. "); Warner
                      Bros. Entm't. Inc. v. RDR Books, 2008 WL 4126736, at *34 (same).
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                     cases continue to hold that a showing of past infringement coupled with an ongoing
                     threat to the holder's exclusive rights supports a f nding of irreparable harm. See, e.g.,
                     Bertram Music, 2008 WL 2055480, at *2 (granting permanent injunction based on
                     showing of past and threat of future infringement); Microsoft Corp. v. Nop, 549 F. Supp.
                     2d 1233, 1239 (E.D. Cal. 2008) (same); UMG Recordings, Inc. v. Higareda, 2008 WL
                     3836074 at *5 (E.D. Cal. Aug. 14, 2008) (same); Warner Bros. Entm't, Inc. v. Carsagno,
                     2007 WL 1655666, *5 (E.D.N.Y. June 4, 2007) (same). Even post-eBay cases that
                     reject any presumption of harm are in accord on this. See, e.g., Designer Skin, LLC v.
                  9 S&L Vitamins, Inc., 2008 WL 4174882, at *4-5 (D. Ariz. Sept. 5, 2008) (granting
                 10 permanent injunction to avoid "rendering [plaintiffs] right to exclude others from using
                 11 its images illusory"; a plaintiff "meets the burden of proving irreparable harm" under
                     eBay by showing both past and threat of future infringement).
                             Grokster, on which MGA principally relies, itself makes clear that where
                     interference with exclusive rights has the "actual effect of irreparably harming a
                     plaintiff's right to control the use of his/her copyrighted material," irreparable harm
                     exists. Grokster, 518 F. Supp. 2d at 1216-17; see also eBay, Inc. v. MercExch., LLC,
                     547 U.S. 388, 395 (2006) (Roberts, C.J., Scalia & Ginsburg, JJ., concurring) ( " From at
                     least the early 19th century, courts have granted injunctive relief upon a finding of
                     infringement in the vast majority of patent cases. This 'long tradition of equity practice'
                     is not surprising, given the difficulty of protecting a right to exclude through monetary
                     remedies that allow an infringer to use an invention against the patentee's wishes - a
                     difficulty that often implicates the first two factors of the traditional four-factor test. ").
                     If ever there were a case of irreparable harm to the right to exclude, it is here. For years,
                     MGA concealed from Mattel the fact that Mattel even had any rights in Bratz. 53 MGA
                     is actually suing Mattel . for making dolls (MY SCENE) that it claims look too much like




                        53   p
                                 hase 1(b) Verdict Form As Given at ¶¶ 18, 20, Hutnyan Decl. Ex. 3.
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                  1 Bratz. S4 MGA does not deny its plans to continue to infringe Mattel's copyrights. 55
                  2 MGA's interference with Mattel ' s Bratz copyrights has been pervasive and egregious.
                             MGA also does not address, and thus concedes, that permitting MGA to infringe
                     further will encourage third party copying which will require Mattel to bring a
                     multiplicity of new lawsuits. 56 Unless MGA is enjoined, third-party manufacturers who
                     currently make or sell infringing Bratz products will continue to infringe Mattel's
                     copyrights, confident they can do so with impunity. MGA's own authority shows this is
                     irreparable harm. Grokster, 518 F. Supp. 2d at 1219 ("[T]he very need to file multiple
                     lawsuits ... is itself supportive of an irreparable harm f nding. ").
                             MGA's only answer to the clear inadequacy of legal remedies is that Mattel
                     "conceded that monetary damages are adequate" by proffering a theory of "future"
                     damages in Phase 1(b). 57 But a theory the jury never accepted, and that MGA itself
                     contested as speculative, in no way establishes that legal remedies are adequate to
                     address MGA's ongoing infringement. If anything this shows the opposite. See, e.g.,
                     Kikumura v. Hurley, 242 F.3d 950, 963 (10th Cir. 2001) (reversing finding of no
                     irreparable harm because "[a] plaintiff suffers irreparable injury when the court would be
                     unable to grant an effective monetary remedy after a full trial because such damages
                     would be inadequate or difficult to ascertain"); Tri-State Gen. and Transmission Ass'n,
                     Inc. v. Shoshone River Power, Inc., 874 F.2d 1346, 1363 (10th Cir. 1989) (vacating
                     denial of permanent injunction: "evidence concerning [plaintiffs] future damages is
                     obviously intertwined with and directly affects the determination of whether injunctive
                     relief should be granted.... The jury may indicate that it cannot calculate [plaintiff's]
                     future damages with any reasonable degree of accuracy.... Such an indication will



                        s4
                          See MGA Compl. for False Designation of Origin, Association or Sponsorship; Unfair
                     Competition; Dilution; and Unjust Enrichment, dated April 13, 2005, Hauss Decl. Ex. 4.
                       56
                          See Hutnyan Decl. II 149.
                             Mot. at 20-21.
                        57   Opp. at 6. See, supra part LC.
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                     certainly affect our review on a subsequent appeal if the district court again determines
                     that damages are calculable and consequently denies injunctive relief.").
                             E.     The Balance of Hardships and the Public Interest Favor an
                                    Injunction
                             MGA's balancing of hardships has the scales backwards. On the Mattel side,
                     MGA fails to credit the significant harm MGA's ongoing infringement will cause Mattel.
                     On its own side, MGA's assertion that an injunction would amount to "[s]hutting down
                     MGA" (Opp. at 14) is a red herring. Mattel does not seek to "shut down" MGA; it seeks
                     to prevent more infringement of its rights. Larian himself has claimed that had Bryant
                     never brought Bratz to MGA, he and his team "would have found something else. i58 He
                     remains free to do so. But building a business on infringing products is no reason to
                     allow MGA to continue infringing.
                             Under the law, MGA has no legally cognizable interest in continuing to infringe
                     Mattel's copyrights. See, e.g., Triad Sys. Corp. v. Se. Express Co., 64 F.3d 1330, 1338
                     (9th Cir. 1995) ("Where the only hardship that the defendant will suffer is lost profits
                     from an activity which has been shown likely to be infringing, such an argument in
                     defense merits little equitable consideration."); Warner Bros., 2008 WL 4126736, at *35
                     ("The only possible harm to Defendant is the loss of the chance to sell an infringing
                     book, but the law does not protect this type of hardship") (citations omitted); Microsoft
                     Corp. v. Atek 3000 Computer Inc., 2008 WL 2884761, at *5 (E.D.N.Y. July 23, 2008)
                     (balance of hardships "favors granting a permanent injunction because such an
                     injunction only serves to require defendant to comply with the Copyright and Lanham
                     Acts and plaintiff stands to lose goodwill and sales if an injunction is not granted").
                     That is so even if MGA needs to continue to infringe to remain in business. "One who
                     elects to build a business on a product found to infringe cannot be heard to complain if
                     an injunction against continuing infringement destroys the business so elected. "


                        58
                             See, e.g., Trial Tr. at 6172:13-21.
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                     Windsurfing Int'l, Inc. v. AMF, Inc., 782 F.2d 995, 1003 n.12 (Fed. Cir. 1986); see
                     Universal City Studios, Inc. v. Sony Corp., 659 F.2d 963, 976 (9th Cir. 1981) ("A
                     defendant has no right to expect a return on investment from activities which violate the
                  4 copyright laws. Once a determination has been made that an infringement is involved,
                  5 the continued profitability of [the defendant's] business is of secondary concern."), rev'd
                     on other grounds, 464 U.S. 417 (1984). And that MGA will have to "shut down" has
                     not been shown in any event. "[Defendants] can continue to compete against [plaintiff],
                     except not with the [products] that were created by [plaintiff]." Mortgage Mkt. Guide,
                     LLC v. Freedman Report, LLC, 2008 WL. 2991570, at *44 (D.N.J. July 28, 2008). 59
                              As for the public interest, the injunction Mattel seeks would simply bar the further
                     manufacture of infringing toys MGA never had the right to make in the first place. This
                     is not a case like Abend v. MCA, Inc., 863 F.2d 1465 (9th Cir. 1988), where an
                     injunction would have deprived the public of a classic Hitchcock film created under a
                 14 valid assignment from the author of the copyrighted work. 60 Id. at 1479. Nor is this
                 15 case analogous to z4 Techs. v. Microsoft Corp., where an injunction would have
                     required a retrofit to the computers of millions of users of Microsoft software. 434 F.
                     Supp. 2d 437, 443-44 (E.D. Tex. 2006). 61

                         59 MGA contends an injunction would impose a hardship because the jury found its
                    infringement was de minimis. But the jury made no such finding; in fact, its verdict of
                    infringement shows MGA',s infringement is not de minimis -- truly de minimis infringement is
                    not actionable. Newton v. Diamond, 204 F. Supp. 2d 1244, 1256-57 (C.D. Cal. 2002) ("To
                    establish that the infringement of a copyright is de minimis, and therefore not actionable, the
                    alleged infringer must demonstrate that the copying of the protected material is so trivial 'as to
                    fall below the quantitative threshold of substantial similarity, which is always a required
                    element of actionable copying.'") (internal citation omitted). Dun v. Lumbermen's Credit
                    Ass'n, 209 U.S. 20 (1908), is therefore distinguishable--the directory at issue used an
                    "insignificant" number of names from plaintiffs directory.
                        MGA also contends its lack of willfulness "militates against an injunction," (Opp. at 14),
                    but cites no authority that only willful infringers may be enjoined; that is not the case.
                    Williams Elec., Inc. v. Artic Int'1., Inc., 685 F.2d 870, 878 (3d Cir. 1982) ("[I]njunctions may
                    be issued without a showing of willful or deliberate infringement" ; CyberMedia, Inc. v.
                    Syn intec Corp., 19 F. Supp. 2d 1070, 1079 (N.D. Cal. 1998) (same.
                        6l
                           We address Abend more fully in Section III.A, below.
                           MGA's reliance on the Elvis Presley case, Elvis Presley Enters. v. Passport Video, is
                 27 curious as the majority in fact affirmed the ent of a preliminary injunction barring release of
                    an Elvis documentary (see 349 F.3d 622, 631 (9th Cir. 2003)); the "holding" cited by MGA
                 28 was Judge Noonan's amended dissent.
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                  1           Nor are MGA's "monopoly" concerns valid, factually or legally. Enjoining
                  2 MGA's infringing dolls will not, as MGA urges, leave only one of two competitors
                  3 standing; even Larian agrees the market consists of far more than just BARBIE and
                  4 Bratz,62 and it was Larian who bragged that MGA could have come up with its own
                  5 competitive fashion doll apart from Bryant's Bratz designs. 6^ Moreover, a copyright is
                  6 by definition a right to exclusive control of a particular work--it is by definition
                  7 monopolistic. See, e.g., In re Indep. Serv. Orgs. Antitrust Litig., 910 F. Supp. 1537,
                  8 1542 (D. Kan. 1995) ("In essence, a copyright provides the copyright holder with a legal
                  9 monopoly."). The monopolistic nature of a copyright does not preclude injunctive relief;
                 10 it supports it. See Mortgage Mkt. Guide, 2008 WL 2991570, at *44-45 (rejecting
                 11 monopoly argument because defendant and other competitors will continue to be able to
                 12 compete with non-infringing tools); BUC Int'l Corp. v. Intl Yacht Council Ltd., 2002
                 13 WL 31399604, at *4 (S.D. Fla. July 5, 2002) ("[T]he breaking of a monopoly cannot be
                 14 accomplished by copyright infringement."); E.F. Johnson Co. v. Uniden Corp. of Am.,
                 15 623 F. Supp. 1485, 1504 (D. Minn. 1985) (rejecting monopoly argument). 64




                         62
                           See, e. ., Trial Tr. at 6252:19-6253:15 (listing Hannah Montana, High School Musical,
                    Webkinz and Littlest Pet Shop as "very successful" fashion dolls and products that have taken
                    busibness from Bratz and BARBIE). See also Declaration of Stephanie Cota, filed herewith.
                        64
                           Trial Tr. 6172 :13 -21.
                           Even the case cited by MGA, Pass & Seymour, Inc. v. Hubbell, Inc., 532 F. Supp. 2d
                    418 (N.D.N.Y. 2007), recognized "there is an interest served in promoting innovation by
                    protecting the monopoly conferred by statute, and indeed under the United States
                    Constitution, to inventors under the patent laws." Id. at 434. The court denied a preliminary
                    injunction in part because the defendant's product "may well be ... non-infringing." Id.
                    MGA's purported "waste" concerns are equally misplaced. An injunction will not "prevent
                    exploitation of economically viable materials" (Opp. at 15); it will prevent their unlawful
                    exploitation by MGA, and permit their exclusive exploitation by Mattel. MGA's only case
                    support is off oint. See BR Assoc., Inc. v. LaFramboise, 2007 WL 1840031, at * 10 (E.D.
                    Mich. June 262007) (economic waste would result if building already completed before a
                    claim was made were ordered destroyed as remedy for breach of contract). MGA also twists
                 27 an exchange in which the Court noted, in the context of settlement, that it would be in the
                    parties' economic interest to maintain Bratz as a profitable product. (Opp. at 15) What might
                 28 be in the parties' economic interest as a matter of settlement is irrelevant.
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                  1 III.     MATTEL'S PROPOSED INJUNCTION AND RELATED REMEDIES
                  .2         ARE APPROPRIATE AND SHOULD BE ORDERED
                  3          A.     An Injunction Is The Appropriate Remedy
                  4          Relying principally on Abend, 863 F.2d 1465, MGA argues that even if Mattel is
                  5 entitled to relief against continuing infringement, a royalty is the appropriate remedy.
                  6 Neither the Ninth Circuit nor any other court has relied on Abend to reject an injunction
                  7 request in the face of a finding of copyright infringement, nor should this Court.
                             In Abend, Paramount Pictures produced the Hitchcock film Rear Window in 1954
                       based on a story by Cornell Woolrich, with lawful rights to the story. Woolrich died in
                       1968 and the renewal term rights to his story reverted to his heirs under the Copyright
                       Act of 1909. The heirs assigned the rights to Abend, who sued Paramount claiming it no
                       longer had the right to exploit the film without the renewal rights. Id. at 1467-68. The
                       Ninth Circuit found that "special circumstances" justified a monetary award in place of
                       an injunction. Id. at 1478-79. As the Ninth Circuit explained later, "the defendant had
                       done nothing improper but had simply lost the right to the short story on a 'technicality'
                       existing under the Copyright Act of 1909; an injunction would have prohibited the
                       defendant from enjoying profits from its own creative efforts (i.e., creating the motion
                       picture from the short story); and the public would be denied the opportunity to view a
                       classic film." Cadence, 125 F.3d at 829.
                             Since Abend, the Ninth Circuit has rejected royalty arguments in the two
                       published cases where they were sought, finding Abend not to control. See A&M
                       Records, Inc. v. Napster, Inc., 239 F.3d 1004, 1028 (9th Cir. 2001); Cadence, 125 F.3d
                       at 829. Other courts have done the same, even where the scope of infringement was
                       limited. See, e.g., Woods v. Universal City Studios, 920 F. Supp. 62, 65 (S.D.N.Y.
                       1996) (although copyrighted drawings appeared only in one small portion of film 12
                       Monkeys, "Universal has not demonstrated that this is a case of 'special circumstances'
                       justifying an award of damages or a continuing royalty instead of an injunction, or that
                       'great public injury' would result from an injunction").
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                         The facts here in no way mirror the "special circumstances" in Abend. Unlike the
                defendants in Abend, MGA at no time had the right to create works based on Bryant's
                designs and was not stripped of its exploitation rights based on a legal technicality. A
                classic work will not be lost forever through an injunction here; MGA will simply lose
                the right to exploit designs that it never rightly owned.                And MGA will not be
                "prohibited ... from enjoying profits from its own creative efforts," Cadence, 125 F.3d
            7 at 829, as Paramount would have been in Abend; MGA can apply its creative fashion
              designs, marketing and the like to help sell non-infringing products. 65
                         MGA suggests the jury's "f ndings provide a basis for calculating a reasonable
                royalty, " Opp. at 32, but then proposes a manifestly unreasonable royalty. Its reading of
                the jury verdict is pure speculation, and its proposed royalty would be inappropriate
                even if a royalty were the proper remedy. 66 An injunction should issue. 67

                    65
                       MGA's other authorities are inapposite. See, e.g., eBay, 547 U.S. at 396-97 (Kennedy,
                J., concurring) ("When the patented invention is but a small component of the product the
                companies seek to produce and the threat of an injunction is employed simply for undue
                leverage in negotiations, legal damages may well be sufficient to compensate for the
                infringement and an injunction may not serve the public interest") (emphasized language
                omitted from MGA's citation); Silverstein v. Pen uin Putnam, Inc., 368 F.3d 77, 84 (2d Cir.
                   2004) (reversing summary judgment for plaintiff because there were questions about whether
                   poetry compilation at issue was protectible, and then stating in dicta that "any protectible
                   interest [plaintiff] may have would be so slight that it cannot be enforced by a preliminary or
                   permanent injunction"); Sony, 659 F.2d at 967 (court stated in dicta that royalty may be an
                   acceptable resolution but did not make any determination on the issue and noted general rule
                   that copyright plaintiff is entitled to an injunction once past and threat of future infringement
                   is established); Sony, 464 U.S. at 499-500 (Blackmun, J. dissenting) (expressing agreement
                   with.Ninth Circuit's dicta in dissent); Dun, 209 U.S. at 23-24 (not adopting royalty); Paice,
                   LLC v. Toyota Motor Corp., 504 F.3d. 1293, 1313-15 (Fed. Cir. 2007) (reversing royalty
                   order); Richard Feiner & Co. v. Turner Entm't Co., 926 F. Supp. 40, 43-44 (S.D.N.Y. 1996)
                   (refusing to appl Abend and issuing injunction in later decision, see 1997 WL 603447, at *3
                    S.D.N.Y. 1997). Mattel of course also never "conceded that a royalty may be an appropriate
                   alternative to an injunction. here." Opp. at 29 n.44. Rather, Mattel merely argued that MGA
                   should not be permitted to question Wagner regarding the impact ofa possible injunction on
                   MGA's valuation given that an injunction was not a foregone conclusion, with a royalty being
                    na ootier possible remedy (and one MGA had already said it would propose). .
                            See Mot. to Strike Meyer Decl.; Declaration of Judy A. Willis, filed herewith. In
                   addition to the other flaws in Meyer's analysis, MGA and Meyer also improperly ignore the
                   entirety of the damages award--$100 million. Bains, 405 F.3 d at 771-72 (award of nominal
                   damages for § 1981 cause of action did not show finding of no economic harm because jury
                   awarded $50,000 for breach of contract and may have thought "putting the same $50,000
                   undo both the § 1981 and the breach of contract causes of action would be double counting"}
                            MGA faults Mattel for not seeking a preliminary injunction, but "[n]othing in the law
                28 requires that a party seeking a permanent injunction also seek a preliminary injunction."
                        (footnote continued)
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                             B.     The Injunction is Not Overbroad
                             MGA string-cites cases for the proposition that injunctions should be narrowly
                      tailored and reasonably related to the infringement, (Opp. at 17:4-24), but fails to point
                  4 out that in almost all these cases the court did enjoin distribution of the challenged
                  5 goods. 6s MGA's generalized descriptions of the outer boundaries of remedial relief shed
                  6 no light on the propriety of the injunction Mattel seeks.
                  7          In fact, the Ninth Circuit has consistently affirmed injunctions similar in scope to
                  8 the one requested by Mattel. E.g., Dr. Seuss Enters., L.P. v. Penguin Books USA, Inc.,
                  9   109 F.3d 1394, 1406 (9th Cir. 1997) (affirming injunction that prohibited distributing
                      entire book even though only back cover art and image of hat were infringing); Cadence,
                      189 F.3d 472 (affirming injunction that prohibited selling software even though only a
                      portion infringed). MGA's own cases recognize that an injunction must be sufficiently
                      broad to provide the plaintiff full relief. E.g., Lamb-Weston, Inc. v. McCain Foods,
                      Ltd., 941 F.2d 970, 973-74 (9th Cir. 1991) (affirming worldwide injunction prohibiting
                      sale based on trade secret misappropriation); Iconix, 457 F. Supp. 2d at 1000 ("It is not
                      unusual for courts to prohibit infringement--including infringement pertaining to
                      derivative works ... in preliminary injunctions for alleged copyright infringement.").
                      MGA states no valid objection to the form of Mattel's proposed injunction. 64



                      Sweetheart Cup Co., Inc. v. Buchberg Inv. Holdings, Inc., 2005 WL 1515405, at*5 (S.D.N.Y.
                      June 23, 2005); see Riss & Co. v. Ass'n. of Am. R.R., 170 F. Supp. 354, 368 (D.D.C. 1959)
                      ("no inference adverse to plaintiff can be made based on its failure to seek an injunction
                      before the trial"). MGA's authority agrees that a decision not to seek a preliminary injunction
                      is " lainly not dispositive" and "numerous factors can impact a plaintiffs decision to forgo
                      seeking a preliminary injunction and such injunction has different prerequisites and serves
                      diffent purposes than a permanent injunction." MercExchan e, 500 F. Supp. 2d at 573.
                              See Starter Corp. v. Converse, Inc., 170 F.3d 286, 300 (2d Cir. 1999) (remanding to
                      impose permanent injunctive relief); Iconix, Inc. v. Tokuda, 457 F. Supp. 2d 969, 1003-1004
                      (N.D. Cal. 2006) (enjoining defendants from infringing plaintiffs copyright ); Grokster, 518
                      F. Slpp. 2d. at 1241 (enjoining defendant from inducing; copyright infringement).
                              Nearly all MGA s authorities involved preliminary injunctions, where courts
                      understandably exercise more restraint because viollations of law have not been established.
                      See, e.g., Iconix, 457 F. Supp. 2d at 999-1002; Natural Resources Defense Council, Inc. v.
                      Winter, 508 F.3d 885 (9th Cir. 2007); Lamb-Weston, 941 F.2d at 970; Price v. City of
                      Stockton, 390 F.3 d 1105 (9th Cir. 2004); Waldman Publ'g Corp. v. Landoll, Inc., 43 F.3d 775
                          (footnote continued)
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                              C.     The Court Should Order Recall, Destruction and Impoundment
                              MGA does not dispute that final judgments under the Copyright Act routinely
                       include recall and destruction orders. MGA does not dispute that absent such an order,
                      millions of infringing Bratz dolls would continue to be offered on retail shelves next to
                      Mattel-marketed products. Recall, destruction and impoundment should be ordered.7°
                              MGA contends that recalls should not deprive the public of "substantial non-
                      infringing elements," (Opp. at 33), citing TVT Records v. Island Def Jam Music
                      Group, 279 F. Supp. 2d 366, 407-09 (S.D.N.Y. 2003). That case provides no support for
                      MGA. The defendant in TVT Records produced a music CD and DVD that featured
                       songs by numerous artists, only two of which were infringing (just minutes out of hours
                      of content). The court denied a recall (though it did enjoin further use of the infringing
                       songs and ordered defendants to return the master recordings) because the remaining
                       songs were non-infringing works contributed by innocent third-party artists who might
                      be adversely affected by a recall. Here, however, where the contributors of any non-
                      infringing elements were employed by MGA, the concern about fairness to innocent
                      third parties is completely absent. Moreover, the plaintiff in TVT Records had obtained
                      damages at trial based on the total number of CDs and DVDs manufactured, not sold, so
                      it had already been compensated for the unsold works it sought to have recalled.
                              Courts sometimes issue remedies narrower than a recall where the non-infringing
                      aspect of a product can be severed from infringing elements. See Perkins Marine Lamp


                     (2d Cir. 1994). Infringement has been established here. A permanent injunction thus favors
                     pro sction of Mattel's rights without the concerns present at the preliminary injunction stage.
                            MGA speciously argues Mattel's request for impoundment should be denied because
                     impoundment is "generally associated with preliminary injunctions, not ermanent
                     Injunctions." (Opp_ at 32 n.46.) Whether termed impoundment under § 503(a) or "other
                     reasonable disposition" under § 503(b), MGA can and should be ordered to turn over the
                     infringing goods. See Rogers v. Koons, 960 F.2d 301, 313 (2d Cir. 1992) (affirming turn-
                     over order as "e uitable remedy issued under the broad powers vested in a trial jud e under
                     17 U.S.C. 503(b)"); Rebis v. Universal Cad Consultants, Inc., 1999 WL 1000435, *2 (N.D.
                  26 Cal. Oct. 27, 1999) (entering judgment calling for infringing software to be "impounded or
                     destroyed, pursuant to 17 U.S.C. § 503(b)"); see also HR. Rep. No. 94-1476, at 160 (1976),
                  27 reprinted in 1976 U.S.C.C.A.N. 5659, 5776 ("as part of its final judgment or decree, the court
                         (footnote continued)
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                     & Hardware Co. v. Goodwin Stanley Co., 86 F. Supp. 630, 632 (E.D.N.Y. 1949)
                     (requiring defendant to block out infringing material rather than order destruction where
                     21 of 137 items in catalog were infringing); Foreign Car Parts, Inc. of New England v.
                     Auto World, Inc., 366 F. Supp. 977, 981 (M.D. Pa. 1973) (ordering defendant to block
                     out the small amount of infringing material from catalogs). The issue is not whether the
                     product contains "substantial non-infringing elements," as MGA contends (Opp. at 33),
                     but whether an adequate lesser remedy can be imposed. No such lesser remedy is
                  8 available here because the infringing elements include the non-separable core of the
                  9 MGA dolls, their sculpt. No remedy short of recall would be adequate.
                            Nor does MGA show that a recall, destruction and impoundment order would
                     impose an undue burden. See Perfect Fit Indus. v. Acme Quilting Co., Inc., 646 F.2d
                     800, 807 (2d Cir. 1981) (ordering recall where defendant failed to show that cost would
                     be unwarranted). There is nothing inherently onerous about the requirement that a
                     defendant simply "writ[e] its customers requesting a return of the [products] and pa[y]
                     the cost of the return." Id. Recall orders frequently extend to a defendant's distributors
                     and retailers,7' regardless of any purported burden. See, e.g., Merit Diamond Corp. v.
                     Frederick Goldman, Inc., 376 F. Supp. 2d 517, 526-27 (S.D.N.Y. 2005) (cited by MGA)
                     (ordering recall from defendant's national retailers and other wholesale customers as
                     these "large corporate entities ... are capable of managing the process of recalling
                     products from store shelves " ); Fisher-Price Toys v. My-Toy Co., Inc., 385 F. Supp. 218,
                     223 (S.D.N.Y. 1974) (ordering injunction, destruction of infringing dolls and all molds
                     and other means of their manufacture, and the recall and destruction of infringing dolls


                     could order the infringing articles sold, delivered to the plaintiff, or disposed of in some other
                     way that would avoid needless waste and best serve the ends of justice.") (emphasis added).
                         1 MGA argues in a footnote that a recall order cannot appropriately extend to "innocent"
                     non-parties. (Opp. at 33 n.47.) The cases MGA cites, however, involved consumers, not
                     wholesale or retail business intermediaries. See, e.g., Societe Civile Succession Richard
                     Guino v. Int'l Found. for Anticancer Drug Discovery, 460 F. Supp. 2d 1105, 1111-12 (D.
                     Ariz. 2006) (distinguishing business entity recalls from those aimed at end-user consumers);
                     Applied Innovations, Inc. v. Regents of the Univ. of Minn., 876 F.2d 626, 637-38 (8th Cir.
                        (footnote continued)

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                     already distributed). 72 MGA attempts to distinguish Gund, Inc. v. Golden Bear Co.,
                     Ltd., 1992 WL 392602 (S.D.N.Y. Dec. 10, 1992), as purportedly involving just "one
                     store," Opp. at 34:11-15, but the infringing toy in that case had actually been "widely
                     distributed " to 2400 K-Mart stores; the court ordered a recall anyway. Id. at * 1, *4-5. 73
                            MGA's claim that, absent a recall, "the only 'burden' to Mattel is facing
                     competition, " Opp. at 34, is telling. MGA' s infringing Bratz products are indeed
                 7 "competition" and will certainly cause losses for Mattel. That is precisely why Mattel is
                     entitled to injunctive relief and a recall order. The holiday season is a critical time for
                     Mattel. 74 Mattel should not have to face competition from products based on its own
                     designs, especially during this critical time. Mattel's motion should be granted.
                     DATED: October 22, 2008                  QUINN EMANUEL URQUHART OLIVER &
                                                              HEDGES, LLP


                                                              By
                                                                        B. Quinn
                                                                   Attorneys for Mattel, Inc.



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                     1989). Indeed, Societe Civile cites numerous cases holding that recall orders are appropriate
                     whsre items can be "reasonably obtained by the defendants." Id. at 1111.
                              See also Chere Arnie, Inc. v. Windstar Apparel, Corp., 175 F. Supp. 2d 562, 563-64,
                     566 (S.D.N.Y. 2001) (imposing contempt sanction based on failure to comply with injunction
                     requiring defendant to "recall from all distributors, wholesalers, jobbers, dealers, and retailers
                     and deliver to [plaintiff] any originals, copies, facsimiles, or duplicates of any products
                     employing the 'Girl Zone' trademark and [copyrighted designs]"); Yurman Design Inc. v.
                     Chaindom Enters., Inc., 1999 WL 1075942, * 8 (S.D.N.Y. Nov. 29, 1999) (ordering recall of
                     exitng stock of infringing bracelets fromjewelry businesses).
                             The ongoing nature of MGA's infringement distinguishes this case from those MGA
                     cites in opposition. See, e.g., Gund, Inc. v. Swank, 673 F. Supp. 1233, 1237 (S.D.N.Y. 1987)
                     (infringing products had been distributed as part of a "one-time" promotion); Granville v.
                     Suckafree Records, Inc., 2006 WL 2520909, *7 (S.D. Tex. June 28, 2006) (no evidence
                     additional copies of limited edition compilation CD (which contained an infringing "beat" in a
                     sin lle song) would be produced).
                              Decl. of Kathleen Simpson-Taylor in support of Mattel's Ex Parte App. for an
                     Expedited Hearing, dated Sept. 29, 2008, at ¶ 4.
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